     Case: 1:18-cv-03264 Document #: 56 Filed: 07/10/18 Page 1 of 2 PageID #:11339




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                          Case No.: 18-cv-3264
       Plaintiff,
                                                          Judge Manish S. Shah
v.
                                                          Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                    NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to Defendant Nos. 14, 50, 51, 56, 89, 199, 216, 240, 252, 263,

 265, 271, 274, 278, 279, 290, 313, 322, 345, 346, 362, 373, 376, 379, 397, 416, 423, 427, 438,

 440, 450, 451, 462, 464, 504, 518, 522, 523, 528, 532, 538, 539, 543, 552, 553, 559, 560, 576,

 580, 592, 619, 633, 643, 652, 677, 678, 680, 689, 692, 715, 812, 846, 855, 860, 884, 888, 912,

 921, 922, 936, 955, 968, 970, 973, 982, 1010, 1017, 1055, 1041, 1044, 1064, 1068, 1113, 1126,

 1135, 1139, 1147, 1182, 1201, 1203, 1207, 1215, 1217, 1220, 1227 on Schedule A with leave to

 reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

 (90) days, the dismissal is with prejudice.
   Case: 1:18-cv-03264 Document #: 56 Filed: 07/10/18 Page 2 of 2 PageID #:11339




DATED: July 10, 2018                               Respectfully submitted,

                                                   /s/ Keith A. Vogt
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                                                   Keith Vogt, Ltd.
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                                                   Oak Park, Illinois 60302
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 10, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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